     Case 2:21-cv-07310-CAS-KS Document 15 Filed 02/01/22 Page 1 of 3 Page ID #:46



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12
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13
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
14
                                    WESTERN DIVISION
15
     UNITED STATES OF AMERICA,                No. 2:21-cv-07310-CAS(KSx)
16
                Plaintiff,                    STIPULATION AND REQUEST TO STAY
17                                            CIVIL FORFEITURE ACTION PENDING
                      v.                      CONCLUSION OF RELATED CRIMINAL
18                                            INVESTIGATION; [PROPOSED] ORDER
     $256,276.00 IN U.S. CURRENCY AND         THEREON LODGED UNDER SEPARATE
19   APPROXIMATELY 26 MISCELLANEOUS           COVER
     COINS,
20
                Defendants.
21

22   STANLEY HUDSON,
23              Claimant.
24

25         Plaintiff United States of America (“the government”) and
26   claimant Stanley Hudson (“claimant”), by the signatures of their
27   attorneys hereunder, hereby stipulate and request that this civil
28   forfeiture case be stayed pending the conclusion of an ongoing
     Case 2:21-cv-07310-CAS-KS Document 15 Filed 02/01/22 Page 2 of 3 Page ID #:47



1    related federal criminal investigation.         The government represents

2    that the criminal investigation and the instant civil forfeiture

3    litigation arise out of the same facts and will involve many of the

4    same issues of fact and law, and judicial economy will be served by

5    staying this action.

6          Pursuant to the mandatory stay provision, 18 U.S.C. § 981(g):

7                (1)   Upon the motion of the United States, the court shall

8                      stay the civil forfeiture proceeding if the court

9                      determines that civil discovery will adversely affect

10                     the ability of the Government to conduct a related

11                     criminal investigation or the prosecution of a related

12                     criminal case.

13               (2)   Upon the motion of a claimant, the court shall stay

14                     the civil forfeiture proceeding with respect to that

15                     claimant if the court determines that -

16                          (A)   the claimant is the subject of a related

17                                criminal investigation or case;

18                          (B)   the claimant has standing to assert a claim

19                                in the civil forfeiture proceeding; and

20                          (C)   continuation of the forfeiture proceeding

21                                will burden the right of the claimant

22                                against self-incrimination in

23                                the related investigation or case.

24         Here, the parties agree that the matter should be stayed.            The

25   government is unwilling to respond to civil discovery that would

26   result in claimant and others receiving information they are not

27   entitled to receive during the course of criminal investigations.

28   Claimant, who has filed a claim to reflect his standing in this civil

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     Case 2:21-cv-07310-CAS-KS Document 15 Filed 02/01/22 Page 3 of 3 Page ID #:48



1    forfeiture action, as well as others, may be unable to respond to

2    government discovery requests or provide deposition testimony under

3    oath without endangering their Fifth Amendment rights.           The parties

4    respectfully request that the Court stay this civil forfeiture action

5    until the criminal investigation is completed.          The government

6    proposes that it file reports regarding the status of the related

7    criminal investigation commencing on May 4, 2022 and every ninety

8    days thereafter to enable the Court to monitor the status of this

9    matter.    The parties also stipulate and agree that nothing contained

10   in this stipulation precludes claimant from filing a motion to lift

11   the stay should claimant believe circumstances warrant that the stay

12   be lifted.

13                                      Respectfully submitted,

14   Dated: February 1, 2022            TRACY L. WILKISON
                                        United States Attorney
15                                      SCOTT M. GARRINGER
                                        Assistant United states Attorney
16                                      Chief, Criminal Division
                                        JONATHAN GALATZAN
17                                      Assistant United States Attorney
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19                                      _/s/ Victor A. Rodgers         ___
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20                                      MAXWELL COLL
                                        Assistant United States Attorneys
21                                      Asset Forfeiture Section

22                                      Attorneys for Plaintiff
                                        UNITED STATES OF AMERICA
23

24   Dated: February 1, 2022            LAW OFFICES OF VICTOR SHERMAN, APLC

25
                                        _/s/ Victor Sherman             ______
26                                      VICTOR SHERMAN

27                                      Attorneys for Claimant
                                        STANLEY HUDSON
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